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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

 TRUTEK CORP.,
                                                  Case No. 2:21-cv-10312
       Plaintiff/Counter-Defendant,
                                                  HONORABLE STEPHEN J. MURPHY, III
 v.

 BLUEWILLOW BIOLOGICS,
 INC.,

       Defendant/Counter-Plaintiff.
                                          /

                         ORDER DENYING
             MOTION FOR LEAVE TO AMEND COMPLAINT [28]

      Plaintiff Trutek Corporation moved to amend the complaint. ECF 28. The

proposed amended complaint sought to add allegations about Defendant Bluewillow’s

vaccine products that allegedly infringed on Trutek’s patents. ECF 28-3, PgID 329–

36. Defendant opposed the motion for leave to amend. ECF 30. For the following

reasons, the Court will deny the motion to amend.1

      Federal Rule of Civil Procedure 15(a)(2) provides that after a responsive

pleading is filed, a party may only amend a pleading with the written consent of the

opposing party or with leave of the Court. The rule also provides that “[t]he [C]ourt

should freely give leave when justice so requires.” Id.; see Foman v. Davis, 371 U.S.

178, 182 (1962). To determine whether to grant leave to amend a pleading, the Court

relies on six factors: (1) “undue delay in filing”; (2) “lack of notice to the opposing



1 Based on the parties’ briefing, the Court will resolve the motion on the briefs without

a hearing. See Fed R. Civ. P. 78(b); E.D. Mich. L.R. 7.1(f)(2).
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party”; (3) “bad faith by the moving party”; (4) “repeated failure to cure deficiencies

by previous amendments”; (5) “undue prejudice to the opposing party”; and

(6) “futility of [the] amendment.” Wade v. Knoxville Utils. Bd., 259 F.3d 452, 458–59

(6th Cir. 2001) (quotation omitted).

       A proposed amendment is futile if the complaint could not survive a motion to

dismiss. Id. As a result, the proposed amended complaint must allege facts “sufficient

‘to raise a right to relief above the speculative level,’ and to ‘state a claim to relief that

is plausible on its face.’” Hensley Mfg. v. ProPride, Inc., 579 F.3d 603, 609 (6th Cir.

2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)).

       The Court views the proposed amended complaint in the light most favorable

to the plaintiff, presumes the truth of all well-pleaded factual assertions, and draws

every reasonable inference in the nonmoving party’s favor. Bassett v. NCAA, 528 F.3d

426, 430 (6th Cir. 2008). But the Court will not presume the truth of legal conclusions.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). If “a cause of action fails as a matter of

law, regardless of whether the plaintiff’s factual allegations are true or not,” then the

Court must dismiss. Winnett v. Caterpillar, Inc., 553 F.3d 1000, 1005 (6th Cir. 2009).

       The Court will deny leave to amend because the new allegations that involve

Defendant’s vaccines are protected under the safe harbor provision of 35 U.S.C.

§ 271(e)(1). The statute provides:

       It shall not be an act of infringement to make, use, offer to sell, or sell
       within the United States or import into the United States a patented
       invention . . . solely for uses reasonably related to the development and
       submission of information under a Federal law which regulates the
       manufacture, use, or sale of drugs or veterinary biological products.



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35 U.S.C. § 271(e)(1). The safe harbor “extends to all uses of patented inventions that

are reasonably related to the development and submission of any information under

the [Food, Drug, and Cosmetic Act].” Merck KGaA v. Integra Lifesciences I, Ltd., 545

U.S. 193, 202 (2005) (emphasis in original).

      To avoid dismissal under the safe harbor, Plaintiff must plausibly allege that

Defendant is engaging, or has engaged, in infringing activities that do not fall within

the § 271(e) safe harbor. See Med. Diagnostic Labs., L.L.C. v. Protagonist

Therapeutics, Inc., 298 F. Supp. 3d 1241, 1249 (N.D. Cal. 2018) (“Although whether

challenged activity is reasonably related to the development and submission of

information for FDA approval may in some circumstances be a fact question, there

must be specific facts alleged to create a plausible claim to the contrary in order to

escape dismissal under the safe harbor provision.”) (citation omitted).

      Defendant’s vaccines plainly fall into the safe harbor provision. As the

proposed amended complaint stated, “[Defendant] is currently developing vaccines.”

ECF 28-3, PgID 331. The several vaccines that allegedly infringed on Plaintiff’s

patents are in “ongoing” development and are “currently undergoing phased trials to

determine safety and efficacy.” Id. at 332. And Defendant “has not yet realized

revenue from sales of its vaccine products.” Id.

      “Activities carried out to satisfy FDA requirements fall within the safe harbor.”

Classen Immunotherapies, Inc. v. Shionogi, Inc., 993 F. Supp. 2d 569, 576 (D. Md.

2014). And Defendant has not yet obtained approval for any vaccine that it has

allegedly developed with Plaintiff’s patented technology. See ECF 28-3, PgID 329–36.



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Thus, Defendant’s alleged use of Plaintiff’s technology falls squarely in the safe

harbor provision because “there is a reasonable basis for believing that the

experiments will produce the types of information that are relevant to an

investigational new drug application or new drug application.” Merck KGaA, 545 U.S.

at 208 (cleaned up); see, e.g., Enteris Biopharma, Inc. v. Clinical Pharmacology of

Miami, Inc., No. 1:14-cv-22770, 2015 WL 12085848, at *8 (S.D. Fla. Mar. 20, 2015)

(granting a motion to dismiss because the complaint alleged that the defendants

committed patent infringement by conducting a clinical trial connected to filing a new

drug application with the FDA); Teva Pharms. USA, Inc. v. Sandoz Inc., No. 09-cv-

10012, 2013 WL 3732867, at *4–9 (S.D.N.Y. July 16, 2013) (same).

       Last, Plaintiff’s response to the futility argument suggested only that safe

harbor is an affirmative defense. ECF 31, PgID 510. Although safe harbor is an

affirmative defense, a defendant may still raise it as proper grounds for Rule 12(b)(6)

dismissal. Enteris Biopharma, Inc., 2015 WL 12085848, at *7 (collecting cases). The

Court will therefore deny the motion for leave to amend the complaint based on

futility.

       WHEREFORE, it is hereby ORDERED that the motion for leave to amend

the complaint [28] is DENIED.

       SO ORDERED.

                                        s/ Stephen J. Murphy, III
                                        STEPHEN J. MURPHY, III
                                        United States District Judge
Dated: June 2, 2022




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                          CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on June 2, 2022, by electronic and/or ordinary mail.

                                      s/ David P. Parker
                                      Case Manager




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